                  UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF WEST VIRGINIA
                          AT CHARLESTON


RICHARD DALE TURNER,

          Plaintiff,


v.                                    Civil Action No. 2:16-cv-04346


WEST VIRGINIA REGIONAL JAIL AUTHORITY,
C.O. PERRY, C.O. ALLEN, C.O. HOLIDAY,
Sgt. TONEY, AND MEDICAL STAFF,

          Defendants.


                              ORDER


          Pending are the motion to dismiss by defendants

Holiday and Toney for lack of service, filed on March 17, 2017,

and the motion to dismiss by defendant West Virginia Regional

Jail Authority, filed on March 23, 2017.


          This matter having been referred to United States

Magistrate Judge Dwane L. Tinsley pursuant to 28 U.S.C. §

636(b)(1)(B), he filed his Proposed Findings and Recommendation

(“PF&R”) on these two motions on January 9, 2018.    Magistrate

Judge Tinsley recommends that the individual defendants’ motion

be denied as moot, inasmuch as they have since been properly

served, and that the jail authority’s motion be granted, among

other reasons, because it is not a “person” that can be sued

under 42 U.S.C. § 1983 and is immune from a suit for damages
                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON

THOMAS PARKER,
under the Eleventh Amendment of the United States Constitution.
          Plaintiff,
During a motions hearing before the magistrate judge, plaintiff
v.
agreed                                Civil Action
       to the dismissal of the jail authority      No. suit.
                                              from the 15-14025

THE DOW CHEMICAL COMPANY LONG TERM DISABILITY PROGRAM,
an Employee Welfare Benefits Plan,
          No objections having been filed to the PF&R, the
LIBERTY LIFE ASSURANCE COMPANY OF BOSTON,
a Massachusetts
parties         Corporation,
        have waived           and
                    de novo review by this court. Accordingly,
DOES 1 THROUGH 10, inclusive,
it is ordered as follows:
          Defendants.

                            ORDER
             1. That the PF&R     AND it
                              be, and NOTICE
                                         hereby is, adopted and
           Pursuant   to L.R.inCiv.
              incorporated       fullP.herein.
                                         16.1, it is ORDERED that the
following dates are hereby fixed as the time by or on which
certain events   must
           2. That  theoccur:
                        motion to dismiss by C.O. Holiday and Sgt.
01/28/2016      Motions under F.R. Civ. P. 12(b), together with
              Toney  be, andbriefs,
                supporting    it hereby   is, denied
                                      memoranda,      as moot. or other
                                                  affidavits,
                such matter in support thereof. (All motions
                unsupported
           3. That  the motionby to
                                  memoranda
                                    dismiss will  be West
                                             by the   denied without
                                                          Virginia
                prejudice pursuant to L.R. Civ. P. 7.1 (a)).
              Regional Jail Authority be, and it hereby is,
02/08/2016      Last day for Rule 26(f) meeting.
              granted.
02/15/2016      Last day to file Report of Parties= Planning
                Meeting.
           4. That         SeeVirginia
                    the West    L.R. Civ.   P. 16.1.
                                         Regional Jail Authority be,

02/22/2016        Scheduling
                and it herebyconference  at 4:30
                               is, dismissed fromp.m.
                                                  thisataction.
                                                          the Robert C.
                  Byrd United States Courthouse in Charleston, before
                  the undersigned, unless canceled. Lead counsel
                  directed
             The matter    to appear.
                         continues to be referred to Magistrate
02/29/2016    Entry
Judge Tinsley as    of scheduling
                 to the           order.
                        remaining defendants.       The Clerk is
03/08/2016    Last daycopies
requested to transmit  to serve F.R. order
                             of this Civ. Pto
                                            26(a)(1) disclosures.
                                              plaintiff, all

counsel of The Clerkand
            record,  is United
                        requested to transmit
                               States         this
                                      Magistrate   Order
                                                 Judge   and L.
                                                       Dwane
Notice to all counsel of record and to any unrepresented
Tinsley.
parties.
                                                January 28,
                                        DATED: February 5, 2016
                                                            2018


                                        John T. Copenhaver, Jr.
                                        United States District Judge

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